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       Ruggirello Ltr to Pltf re




                                                                 State of New Jersey
PHILIP D. MURPHY                                              OFFICE OF THE ATTORNEY GENERAL                                     GURBIR S. GREWAL
    Governor                                                DEPARTMENT OF LAW AND PUBLIC SAFETY                                    Attorney General
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SHEILA Y. OLIVER                                                        124 Halsey Street                                        MICHELLE L. MILLER
   Lt. Governor                                                            P.O. Box 45029                                              Director
                                                                        Newark, NJ 07101



                                                                       March 21, 2019

              VIA ECF
              William T. Walsh
              Clerk of the Court
              U.S. District Court for the District of New Jersey
              Clarkson S. Fisher Bldg. & U.S. Courthouse
              402 East State Street
              Trenton, New Jersey 08608

                                   Re: Assoc. of N.J. Rifle & Pistol Clubs, Inc., et al. v. Grewal, et al.
                                       Civil Action No. 3:18-cv-10507-PGS-LHG

              Dear Mr. Walsh:

                    Pursuant to L. Civ. R. 7.1(h) and L. Civ. R. 7.1(d)(5), State Defendants
              respectfully request an automatic one-cycle adjournment of the April 1, 2019 motion
              day assigned to Defendants’ motions for summary judgment (ECF Nos. 84. 85, and
              86), Plaintiffs’ cross-motion to stay (ECF No. 91), and Plaintiffs’ cross-motion for
              summary judgment (ECF No. 92).

                    The originally noticed motion day for Plaintiffs’ cross-motion for summary
              judgment has not yet been extended or adjourned. State Defendants request that
              April 15, 2019, serve as the new motion day for all of the above pending motions.
              Further, State Defendants request that April 8, 2019, be assigned as the deadline for
              State Defendants’ combined reply brief in support of its motion for summary
              judgment and in opposition to Plaintiffs’ cross-motions.

                                    Thank you for your attention to this matter.



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                                    Respectfully submitted,

                                    GURBIR S. GREWAL
                                    ATTORNEY GENERAL OF NEW JERSEY

                              By:    /s/ Bryan Edward Lucas
                                    Bryan Edward Lucas
                                    Deputy Attorney General

 cc: All Counsel of Record    (Via ECF)
